23-10164-smr Doc#346 Filed 10/26/23 Entered 10/26/23 12:49:46 Main Document Pg 1 of
                                         4



                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   In re:                                         §
                                                  §       Case No. 23-10164-smr
   ASTRALABS, INC.,                               §
                                                  §       Chapter 7
             Debtor.                              §

                     CHAPTER 7 TRUSTEE’S ADVISORY OF PAYMENT
                   TO INDIVIDUAL POST-PETITION FINANCING LENDERS

            Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

  trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”),

  files this Advisory of Payment to Individual Post-Petition Financing Lenders, in support of which

  he respectfully states as follows:

            1.     On September 21, 2023, the Court entered its Order Granting Trustee’s Motion to

  Refund Proceeds of Post-Petition Financing [Docket No. 326] (the “Refund Order”), which set

  forth procedures for the Trustee to process refunds to thirty-two (32) individual lenders (each,

  an “Individual Lender”) who provided the Debtor with post-petition funding as a result of the

  Debtor’s unauthorized post-petition financing activities.

            2.     The Trustee provided a copy of the Refund Order and the Court-approved form of

  Certificate for Refund of Note Proceeds (the “Certificate”) to each of the Individual Lenders. All

  but three (3) of the Individual Lenders provided the Trustee with completed Certificates, which

  certified the respective amount of proceeds that each Individual Lender sent to the Debtor. The

  Trustee has confirmed the amounts received by the remaining three (3) Individual Lenders through

  the Debtor’s bank statements.




                                                      1
23-10164-smr Doc#346 Filed 10/26/23 Entered 10/26/23 12:49:46 Main Document Pg 2 of
                                         4



         3.      Accordingly, the Trustee files this advisory to provide notice of, and disclose, his

  issuance of the following refunds to the Individual Lenders:

                    Holder                                   Amount Received
                    Alexander Seery                                 $7,500.00
                    Antonello Loddo                                 $5,000.00
                    Christopher Fast                                $5,000.00
                    Christopher Fontaine                            $5,000.00
                    Clare Forshaw                                   $5,000.00
                    Daryl Campbell                                  $7,500.00
                    Ethan Brandt                                   $10,000.00
                    Francis Chu Tze Khen                           $10,000.00
                    Jeremy Phillips                                $10,000.00
                    Joao Carlos dos Santos Branquinho               $5,000.00
                    Johann Frank Webersberger                       $5,000.00
                    John Kenneth Lee                                $5,000.00
                    Johnathan Morgan                                $5,000.00
                    Johnny Evans                                   $10,000.00
                    Jon A. Sims                                     $5,000.00
                    Mark Beauharnois                                $5,000.00
                    Martin Wagner                                  $10,000.00
                    Mohammad Haider                                 $5,000.00
                    Nathan Webber                                   $5,000.00
                    Nemanja Milosevic                                  $10.00
                    Nived Krishnan                                  $5,000.00
                    Noah Splajt                                     $7,500.00
                    Paul Kellam                                     $5,000.00
                    Paul S Wilcox                                   $5,000.00
                    Petr Zaytsev                                    $5,000.00
                    Ralph J Ehrman                                 $10,000.00
                    Roosevelt Scott                                 $5,000.00
                    Stephen Yoskowitz                               $5,000.00
                    Tahir Ahmad                                     $5,000.00
                    Tammy Hong                                     $10,000.00
                    Tia L. Brown                                    $5,000.00
                    Zachary Potvin                                 $20,000.00
                    Total                                         $212,510.00




                                                  2
23-10164-smr Doc#346 Filed 10/26/23 Entered 10/26/23 12:49:46 Main Document Pg 3 of
                                         4



         4.         With the exception of Nemanja Milosevic, the Trustee mailed a refund check to

  either (a) the address provided to the Trustee by the Individual Lender or (b) the address listed on

  the Individual Lender’s respective promissory note. For Nemanja Milosevic, who resides in

  Germany and whose refund amount is only $10.00, the cost of mailing a check would have

  exceeded the amount of the refund, so the refund was processed via wire transfer by the Trustee’s

  counsel, subject to its right to reimbursement of this expense (upon application to, and allowance

  by, the Court).



  Dated: October 26, 2023                              Respectfully submitted,

                                                       By: /s/ Thanhan Nguyen
                                                         Jay H. Ong
                                                         Texas Bar No. 24028756
                                                         Thanhan Nguyen
                                                         Texas Bar No. 24118479
                                                         MUNSCH HARDT KOPF & HARR, P.C.
                                                         1717 West 6th Street, Suite 250
                                                         Austin, Texas 78703
                                                         Telephone: (512) 391-6100
                                                         Facsimile: (512) 391-6149
                                                         Email:      jong@munsch.com
                                                                     anguyen@munsch.com

                                                       Counsel For Randolph N. Osherow,
                                                       Chapter 7 Trustee

                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on the 26th day of October 2023, he personally
  caused true and correct copies of the foregoing pleading, together with all exhibits thereto, to be
  served (a) by electronically filing it with the Court using the Court’s CM/ECF system, which sent
  notification to the parties listed on the attached matrix, and (b) to each of the Individual Lenders
  at the e-mail address listed in the Trustee’s records.

                                                       By: /s/ Thanhan Nguyen
                                                              Thanhan Nguyen, Esq.




                                                   3
23-10164-smr Doc#346 Filed 10/26/23 Entered 10/26/23 12:49:46 Main Document Pg 4 of
                                         4



 Category               Party                                via CM/ECF
 Debtor                 ASTRALABS, Inc.                      chip.lane@lanelaw.com
                                                             rosherow@hotmail.com;
 Chapter 7 Trustee      Randolph N. Osherow                  jong@munsch.com;
                                                             anguyen@munsch.com
 U.S. Trustee           United States Trustee                shane.p.tobin@usdoj.gov
 Notice of Appearance   3423 Holdings, LLC                   lfancher@fritzbyrne.law
 Notice of Appearance   AFCO Credit Corporation              dmondragon@reedsmith.com
 Notice of Appearance   Andrew Ryan                          rsatija@haywardfirm.com
 Notice of Appearance   Apex Funding Source, LLC             skaminski@kaminskilawpllc.com
 Notice of Appearance   Athletes to Athletes                 thelottfirm@gmail.com
 Notice of Appearance   Capitol Vending and Coffee Company   cleveland.burke@hklaw.com
                        Casey Melcher
                        Hasan Ugur Koyluoglu                 ssather@bn-lawyers.com;
 Notice of Appearance
                        Matthew Kelly                        gsiemankowski@bn-lawyers.com
                        Thomas Dolezal
                        Chad Owen
                        Chaisson-Browne LLC
                        Daniel Smith
                        David Fisher
                        Eric Lee
                        Glenn Hunter
 Notice of Appearance                                        gsiemankowski@bn-lawyers.com
                        J333 Ventures LLC
                        Jeremy Phillips
                        Marc Russell
                        Marco Frabotta
                        Nihar Patel
                        Shaila Patel
                        Elizabeth Bradford
 Notice of Appearance                                        nathan@rosslawgroup.com
                        Sara Wadud
 Notice of Appearance   TX Comptroller of Public Accounts    bk-jstern@oag.texas.gov
